Case 8:00-cr-00117-JSM-TGW Document 450 Filed 02/12/13 Page 1 of 4 PageID 2245




                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


 CESAR DOMINGUEZ,

        Petitioner,

 v.                                                 CASE NO. 8:13-CV-367-T-30TGW
                                                CRIM. CASE NO. 8:00-CR-117-T-30TGW
 UNITED STATES OF AMERICA,

       Respondent.
 ________________________________/

                                           ORDER

        This matter is before the Court for consideration of Petitioner’s motion to vacate, set

 aside, or correct an allegedly illegal sentence filed pro se pursuant to 28 U.S.C. § 2255 (CV

 Dkt. 1). A motion to vacate must be reviewed prior to service on the United States. See Rule

 4 of the Rules Governing § 2255 Cases. If the “motion and the files and records of the case

 conclusively show that the prisoner is entitled to no relief,” the motion is properly denied

 without a response from the United States. 28 U.S.C. § 2255(b).

                                      BACKGROUND

        On February 1, 2001, a jury convicted Petitioner of (1) possession with intent to

 distribute five kilograms or more of cocaine while onboard a vessel, in violation of 46 U.S.C.

 §§ 1903(a), and 1903(g); and (2) conspiracy to possess with intent to distribute five

 kilograms or more of cocaine while onboard a vessel subject to the jurisdiction of the United

 States, contrary to the provisions of 46 U.S.C. §§ 1903(a), 1903(g) and 1903(j) (CR Dkt.
Case 8:00-cr-00117-JSM-TGW Document 450 Filed 02/12/13 Page 2 of 4 PageID 2246




 218). Petitioner was sentenced on each charge to a 252-month term of imprisonment, to be

 followed by a 60 month term of supervised release, with the sentences to run concurrently

 (CR Dkt. 264). The Eleventh Circuit Court of Appeals affirmed Petitioner’s convictions and

 sentence on July 17, 2003 (CR Dkt. 357). Petitioner’s request for collateral relief pursuant

 to 28 U.S.C. § 2255 was denied by this Court on May 17, 2006. See Domingues1 v. United

 States, Case No. 8:03-CV-2497-T-30MSS (M.D. Fla. 2003 at Dkt. 12). The Eleventh Circuit

 denied Petitioner’s motion for a certificate of appealability (see 8:03-CV-2497-T-30MSS at

 Dkt. 20).

                                                 DISCUSSION

          Petitioner now returns to this Court seeking to vacate his sentence based upon United

 States v. Ballaizac-Hurtado, 700 F.3d 1245 (11th Cir. 2012) (see CV Dkt. 1 at docket pp. 13-

 14) “[A] second or successive [§ 2255] motion must be certified as provided in section 2244

 by a panel of the appropriate court of appeals.” 28 U.S.C. §2255(h). See 28 U.S.C. §

 2244(b)(3)(A). Because Petitioner has previously sought collateral relief pursuant to § 2255,

 and he has not demonstrated that he has obtained permission from the Eleventh Circuit to file

 a second or successive motion, this Court is without jurisdiction to entertain the instant §

 2255 motion. Darby v. Hawk-Sawyer, 405 F.3d 942, 944-45 (11th Cir. 2005). This case

 will, therefore, be dismissed without prejudice to allow Petitioner the opportunity to seek said

 authorization.


               1
                The Court notes that in the criminal case, Petitioner spelled his name “Dominquez,” but in the initial
 § 2255 action, he spelled his name “Dominques” and signed his name “Dominguez.” (See, e.g., CR Dkts. 130, 359).

                                                          2
Case 8:00-cr-00117-JSM-TGW Document 450 Filed 02/12/13 Page 3 of 4 PageID 2247




        ACCORDINGLY, it is ORDERED that:

        1.     The motion to vacate, set aside, or correct an illegal sentence is DISMISSED,

 without prejudice, for lack of jurisdiction (CV Dkt. 1). The Clerk is directed to terminate

 from pending status the § 2255 motion (CR Dkt. 447) filed in the corresponding criminal

 case number 8:00-CR-117-T-30TGW.

        2.     The Clerk is directed to send Petitioner the Eleventh Circuit’s application form

 for leave to file a second or successive § 2255 motion under 28 U.S.C. § 2244(b).

        3.     The Clerk shall terminate any pending motions and close this case.



   CERTIFICATE OF APPEALABILITY AND LEAVE TO APPEAL IN FORMA
                        PAUPERIS DENIED


        IT IS FURTHERED ORDERED that Petitioner is not entitled to a certificate of

 appealability. A prisoner seeking a motion to vacate has no absolute entitlement to appeal

 a district court’s denial of his petition. 28 U.S.C. § 2253(c)(1). Rather, a district court must

 first issue a certificate of appealability (COA). Id. “A [COA] may issue ... only if the

 applicant has made a substantial showing of the denial of a constitutional right.” Id. at §

 2253(c) (2). To make such a showing, a petitioner “must demonstrate that reasonable jurists

 would find the district court’s assessment of the constitutional claims debatable or wrong,”

 Tennard v. Dretke, 542 U.S. 274, 282 (2004) (quoting Slack v. McDaniel, 529 U.S. 473, 484

 (2000)), or that “the issues presented were ‘adequate to deserve encouragement to proceed

 further.’” Miller-El v. Cockrell, 537 U.S. 322, 335-36 (2003) (quoting Barefoot v. Estelle,

                                                3
Case 8:00-cr-00117-JSM-TGW Document 450 Filed 02/12/13 Page 4 of 4 PageID 2248




 463 U.S. 880, 893 n. 4 (1983)). Petitioner cannot make the requisite showing in these

 circumstances. Finally, because Petitioner is not entitled to a certificate of appealability, he

 is not entitled to appeal in forma pauperis.

        DONE and ORDERED in Tampa, Florida on February 12, 2013.




 SA:sfc
 Copy furnished to:
 Counsel of Record
 Petitioner, pro se




                                                4
